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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES

Date: 2/15/18 (Time: 2:02-2:12 minutes)         JUDGE: Phyllis J. Hamilton

Case No: 4:16-cv-07005-PJH
Case Name: Polaris Innovations Limited v. Dell Inc., et al

Attorney(s) for Plaintiff:      Stefani Smith and Paul Ehrlich
Attorney(s) for Defendant Dell: Briana Ford
Attorney(s) for Defendant NVIDIA: David Hoffman


Deputy Clerk: Ivy L. Garcia       Court Reporter/FTR: Not Reported or Recorded

                                    PROCEEDINGS

      Further Case Management Conference-Held.

Defendants' request to extend the stay of this action pending resolution of inter partes
review ("IPR") of five of the six patents-in-suit is GRANTED.

Notes: Parties shall e-file a joint status update to the court on the pending "IPR"
proceedings sometime in June, 2018. Court shall set a further case management
conference sometime in late December, 2018.



cc: Kelly/PJH Chambers
